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                                                               United States Bankruptcy Court
                                                                     Southern District of Indiana
 In re      Robert Hayes Hoffman                                                                        Case No.   18-00774-RLM
                                                                                  Debtor(s)             Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: February 28, 2018                                               /s/ Robert Hayes Hoffman
                                                                       Robert Hayes Hoffman
                                                                       Signature of Debtor




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                          ADAM G. WENTLAND, ESQ.
                          THEODORA ORINGHER PC
                          535 ANTON BOULEVARD, NINTH FLOOR
                          COSTA MESA, CA 92626-7109




                          BANK OF AMERICA
                          NC4-105-03-14
                          PO BOX 26012
                          GREENSBORO, NC 27410




                          BANK OF AMERICA
                          PO BOX 982234
                          EL PASO, TX 79998-2234




                          BMO HARRIS
                          ATTN: BANKRUPTCY DEPT.
                          770 N. WATER STREET
                          MILWAUKEE, WI 53202




                          BMO HARRIS BANK N.A.
                          PO BOX 367
                          ARLINGTON HEIGHTS, IL 60006




                          BMW BANK OF NORTH AMERICA
                          2735 EAST PARLEYS WAYS
                          SALT LAKE CITY, UT 84109




                          BMW CARD SERVICES
                          PO BOX 9210
                          OLD BETHPAGE, NY 11804
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                      BMW FINANCIAL SERVICES
                      ATTN: BANKRUPTCY DEPARTMENT
                      PO BOX 3608
                      DUBLIN, OH 43016




                      CANDICE DIELMAN
                      C/O ROBERT M. TRAYLOR, ESQ.
                      750 B STREET, SUIT 2100
                      SAN DIEGO, CA 92101-8177




                      CAPITAL ONE
                      CENTRALIZED BANKRUPTCY
                      PO BOX 30285
                      SALT LAKE CITY, UT 84130-0285




                      CHASE CARD SERVICES
                      ATTN: CORRESPONDENCE DEPT
                      PO BOX 15298
                      WILMINGTON, DE 19850




                      CITIMORTGAGE
                      PO BOX 6243
                      SIOUX FALLS, SD 57117-6243




                      CITIZENS ONE
                      PO BOX 42124
                      PROVIDENCE, RI 02940-2124




                      CREDIT COLLECTIONS SERVICES
                      ATTENTION: BANKRUPTCY
                      725 CANTON STREET
                      NORWOOD, MA 02062
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                      DANIEL E. BRUNETTE
                      500 E. OHIO STREET, SUITE 200
                      INDIANAPOLIS, IN 46204




                      DAVID M. HENN, ESQ.
                      HENN HAWORTH CUMMINGS + PAGE
                      1634 SMITH VALLEY ROAD, SUITE B
                      GREENWOOD, IN 46142




                      DAVID THOMAS PAGE, ESQ.
                      HENN HAWORTH CUMMINGS + PAGE
                      1634 SMITH VALLEY ROAD, SUITE B
                      GREENWOOD, IN 46142




                      DENSEL RAY BALL




                      DISCOVER FINANCIAL
                      PO BOX 6103
                      CAROL STREAM, IL 60197-6103




                      FEDLOAN SERVICING
                      ATTENTION: BANKRUPTCY
                      PO BOX 69184
                      HARRISBURG, PA 17106




                      FIRST MERCHANTS BANK, N.A.
                      200 EAST JACKSON STREET
                      MUNCIE, IN 47305
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                      INDIANA DEPARTMENT OF REVENUE
                      BANKRUPTCY SECTION, N-240
                      100 NORTH SENATE AVENUE
                      INDIANAPOLIS, IN 46204




                      INTERNAL REVENUE SERVICE
                      CENTRALIZED INSOLVENCY OPERATIONS
                      PO BOX 7346
                      PHILADELPHIA, PA 19101-7346




                      JACQUELYN HOFFMANN
                      2899 OSTERLY COURT
                      GREENWOOD, IN 46143




                      JOHNSON COUNTY SHERIFF
                      1091 HOSPITAL ROAD
                      PO BOX 609
                      FRANKLIN, IN 46131




                      JUSTIN LANKFORD
                      PO BOX 886
                      GREENWOOD, IN 46142-0886




                      KENSINGTON GROVE HOMEOWNERS ASSOC., INC.
                      C/O KEVIN MCGINNIS, PRESIDENT
                      4300 N. 725 W.
                      BARGERSVILLE, IN 46106




                      KRIS AND SANDY DIELMAN
                      C/O ROBERT M. TRAYLOR, ESQ.
                      750 B STREET, SUIT 2100
                      SAN DIEGO, CA 92101-8177
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                      LEW DERRICKSON
                      5799 SUNSET LANE
                      INDIANAPOLIS, IN 46228




                      LOANME INC.
                      1900 S. STATE COLLEGE BLVD., SUITE 300
                      ANAHEIM, CA 92806




                      LOUIS VASQUEZ
                      C/O ROBERT M. TRAYLOR, ESQ.
                      5060 NORTH HARBOR DRIVE, SUITE 275
                      SAN DIEGO, CA 92106




                      PETER BROSCOE
                      REAL ESTATE MORTGAGE NETWORK
                      1642 W. SMITH VALLEY ROAD, SUITE A
                      GREENWOOD, IN 46142




                      PROGRESSIVE INSURANCE
                      6300 WILSON MILLS RD.
                      CLEVELAND, OH 44143




                      REBECCA KAY HOFFMAN
                      1030 PEPPERMILL RUN
                      GREENWOOD, IN 46143




                      REBECCA KAY HOFFMANN
                      1030 PEPPERMILL RUN
                      GREENWOOD, IN 46143
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                      SKYHOUSE CHANNELSIDE APARTMENTS
                      112 N. 12TH STREET
                      TAMPA, FL 33602




                      THURSTON, SPRINGER, MILLER,
                      HERD & TITAK, INC.
                      9000 KEYSTONE CROSSING, SUITE 740
                      INDIANAPOLIS, IN 46240




                      U.S. DEPARTMENT OF EDUCATION
                      400 MARYLAND AVENUE, SW
                      WASHINGTON, DC 20202




                      WOODBURY FINANCIAL SERVICES INC.
                      C/O CORPORATION SERVICE COMPANY
                      135 NORTH PENNSYLVANIA ST., STE. 1610
                      INDIANAPOLIS, IN 46204




                      WOODBURY FINANCIAL SERVICES, INC.
                      C/O CORPORATION SERVICE COMPANY
                      135 N. PENNSYLVANIA ST., SUITE 1610
                      INDIANAPOLIS, IN 46204
